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15   COMPANY
16
                                   UNITED STATES DISTRICT COURT
17                                NORTHERN DISTRICT OF CALIFORNIA
                                      SAN FRANCISCO DIVISION
18

19
     UNITED STATES OF AMERICA,                      Case No. 14-CR-00175-WHA
20
                                  Plaintiff,        SUBMISSION IN RESPONSE TO
21                                                  ORDER RE PRIVILEGE LOG
22          v.                                      Judge: Hon. William Alsup
23
     PACIFIC GAS AND ELECTRIC COMPANY,
24
                                  Defendant.
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 1                  Defendant Pacific Gas and Electric Company (“PG&E”) respectfully submits this

 2   response to the Court’s November 30, 2021 Order re Privilege Log (Dkt. 1528). The Court has

 3   requested that PG&E submit for ex parte review five documents listed on the revised privilege log

 4   PG&E submitted on November 30, 2021 (the “revised privilege log”). PG&E has included

 5   unredacted versions of those five documents on a hard drive that is being delivered to the Court

 6   today, along with documents from which PG&E has withdrawn some or all of its original privilege

 7   assertions (see Dkt. 1525).

 8                  As described in earlier filings, PG&E produced any document, including email

 9   communications, created on July 13 or 14, 2021 that hit on search terms among approximately 80

10   custodians. Given the nature of email communications, which are frequently forwarded and

11   ultimately responded to by several individuals, many of the entries on PG&E’s revised privilege log

12   contain substantially similar information. In creating its privilege log, PG&E identified each

13   document by listing the sender and recipient(s) of the last email in a chain (i.e., the top email on a

14   document), although the information over which PG&E is claiming privilege may be reflected earlier

15   in the chain of that email correspondence. While there are 19 documents on PG&E’s revised

16   privilege log, those documents relate to only three distinct sets of redacted material.1 PG&E is

17   supplementing its privilege log to reflect the sender and recipient(s) of the redacted email in addition
18   to the sender and recipient(s) of the last email in the correspondence. PG&E is providing the
19   supplemental log as Exhibit A.
20                  The five documents that the Court requested to review ex parte, along with eight other
21   documents on PG&E’s revised privilege log, all relate to the same email chain. PG&E redacted these
22   three emails from that chain across all 13 documents, as they reflect communications between PG&E
23   personnel and PG&E’s General Counsel. Specifically, PG&E redacted a July 14, 2021 email from
24
         1
25        PG&E inadvertently included on its initial privilege log (Dkt. 1525, Ex. A) two documents for
     which it intended to withdraw its redactions: PGE-DIXIE-NDCAL-000020100 and PGE-DIXIE-
26   NDCAL-000021501. PG&E has removed those entries from the supplemental log attached as
     Exhibit A.
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                            SUBMISSION IN RESPONSE TO ORDER RE PRIVILEGE LOG
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 1   Marlene Santos, Executive Vice President and Chief Customer Officer, to several PG&E executives,

 2   including John Simon, PG&E’s General Counsel. Ms. Santos raises a question about outreach to an

 3   external party. Mr. Simon responds to Ms. Santos’s question, and requests a current update on the

 4   facts to inform the outreach.                  ,                                             , responds

 5   to Mr. Simon with a report of the latest facts known by PG&E concerning the fire.

 6                  To be clear, PG&E does not claim privilege over the underlying facts described to

 7   Mr. Simon and indeed has produced numerous documents, affidavits and other materials to the Court

 8   that describe the facts known to PG&E regarding the fire at various points in time. Because,

 9   however,                   communication was in direct response to a request by PG&E’s General

10   Counsel to assist him in advancing the Company’s legal strategy, PG&E is claiming privilege over

11   this communication. See Kintera, Inc. v. Convio, Inc., 219 F.R.D. 503, 514 (S.D. Cal. 2003); Clark v.

12   Superior Court, 196 Cal. App. 4th 37, 50-52 (2011).

13                  As noted above, there are eight other documents on PG&E’s revised privilege log that

14   redact these same three communications from the email chain. Those documents are: PGE-DIXIE-

15   NDCAL-000019769, PGE-DIXIE-NDCAL-000019818, PGE-DIXIE-NDCAL-000019705, PGE-

16   DIXIE-NDCAL-000019857, PGE-DIXIE-NDCAL-000019903, PGE-DIXIE-NDCAL-000019738,

17   PGE-DIXIE-NDCAL-000019798, and PGE-DIXIE-NDCAL-000020107. In two of these documents,

18   PGE-DIXIE-NDCAL-000019738 and PGE-DIXIE-NDCAL-000019798, PG&E also redacted

19   communications between                , internal PG&E counsel, and                  , in which

20   advises                 with respect to the appropriate recipients of future updates concerning the

21   Dixie Fire.

22                  The remaining six entries on the revised privilege log reflect two sets of redacted

23   material. Five entries correspond to a single redaction by PG&E of a two sentence email from

24        to other internal PG&E counsel discussing the appropriate allocation of responsibilities for the

25   wildfire response between members of PG&E’s Law Department. PGE-DIXIE-NDCAL-000020397;

26   PGE-DIXIE-NDCAL-000020453; PGE-DIXIE-NDCAL-000020434; PGE-DIXIE-NDCAL-

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                           SUBMISSION IN RESPONSE TO ORDER RE PRIVILEGE LOG
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 1   000020449; PGE-DIXIE-NDCAL-000020455. The final entry corresponds to an email chain in

 2   which             ,           and                , all of whom are internal PG&E counsel, are

 3   providing legal advice in connection with draft talking points concerning PG&E’s response to the

 4   Dixie Fire. PGE-DIXIE-NDCAL-000021160.

 5
      Dated: December 3, 2021                                 Respectfully Submitted,
 6
                                                              JENNER & BLOCK LLP
 7

 8
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